Case 2:19-cv-00164-JPH-MJD Document 25 Filed 02/10/20 Page 1 of 1 PageID #: 372




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  TERRE HAUTE DIVISION

 RAYMOND PRUITT,                                     )
                                                     )
                              Plaintiff,             )
                                                     )
                         v.                          )        No. 2:19-cv-00164-JPH-MJD
                                                     )
 B. SMITH, et al.                                    )
                                                     )
                              Defendants.            )

                                           FINAL JUDGMENT

        The Court having this day issued its Entry directing the entry of final judgment, now enters

 FINAL JUDGMENT and this action is dismissed without prejudice.



        2/10/2020
 Date: ________________

 Laura Briggs, Clerk of Court


 By: __________________
     Deputy Clerk



 Distribution:

 RAYMOND PRUITT
 111243
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